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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        Civil No. 22-1203(DSD/DJF)

Rita Mathiason,

                   Plaintiff,

v.                                              ORDER REGARDING
                                                DISPOSITIVE MOTION
                                                PROCEDURE
Shutterfly, Inc.

                   Defendant.


     Notwithstanding the provisions of Local Rules 7.1(c)-(d), IT

IS HEREBY ORDERED that the following procedures shall apply to the

dispositive-motion 1 practice in this case:

     1.      The   moving   party   shall   first   contact    the   court’s

judicial assistant, Donna O’Kroy, at (612) 664-5060, to secure a

hearing date at least 42 days in the future.         Once the moving party



     1  The following are deemed dispositive motions under this
order: motions for preliminary or permanent injunctive relief;
motions to dismiss, for judgment on the pleadings or for summary
judgment; motions to certify a class action; motions to exclude
expert testimony under Daubert v. Merrill Dow Pharmaceuticals,
Inc., 509 U.S. 579 (1993), and/or Federal Rule of Evidence 702;
motions to remand or transfer; and motions to compel arbitration.
Absent permission of the court, a party moving for a temporary
restraining order must file and serve its motion papers, in
addition to the Summons and Complaint, on the proposed-enjoined
party before the court will entertain the motion. A motion for a
temporary restraining order is not subject to the 42-day rule set
forth below; rather, the judicial assistant will advise the parties
of the hearing date and briefing schedule.        All motions for
injunctive relief and motions to exclude expert testimony will be
handled without live witness testimony absent advance permission
from the court.
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has secured a hearing date, it shall promptly file a notice of

motion informing all parties of the nature of the motion and the

date, time and location of the hearing.

     2.   The moving party shall serve and file the following

documents at least 42 days before the scheduled hearing: (a)

motion, (b) memorandum of law and (c) affidavits and exhibits.

     3.   The responding party may serve and file the following

documents at least 21 days before the hearing: (a) memorandum of

law and (b) affidavits and exhibits.

     4.   The moving party shall serve and file the following

documents at least 14 days before the hearing: (a) reply memorandum

of law or (b) a notice stating that no reply will be filed.           A

reply memorandum shall not raise new grounds for relief or present

matters that do not relate to the response.

     5.   If the court sua sponte cancels the hearing or continues

the hearing date, all subsequently filed motion papers must be

served as if the original hearing date were still in effect, unless

otherwise directed by the court.

     6.   Parties need not meet and confer, as required under Local

Rule 7.1(a), in advance of filing a dispositive motion, although

they are encouraged to do so to attempt to narrow the issues

presented to the court.
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     All other provisions in Local Rule 7.1 are unaffected by this

order and remain applicable, including the word limitation in Rule

7.1(f).


Dated: June 20, 2023

                                       s/David S. Doty
                                       David S. Doty, Judge
                                       United States District Court




*If a defendant enters its appearance after this order is filed,
the plaintiff(s) is directed to notify the defendant of the
existence of this order and furnish a copy hereof.




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